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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X   Case No.: 23-cv-1668
  JADA WINTERS,

                                    Plaintiff,

            -against-                                                         [PROPOSED]
                                                                           DEFAULT JUDGMENT
  PHOUNTAIN PH HOLDINGS CORP. and
  PATRICK COOLEY,

                                      Defendants.
  ---------------------------------------------------------------X
          WHEREAS Defendant Phountain PH Holdings Corp. failed to comply with the Court’s

  Order dated January 18, 2024 and the default of Defendant Phountain PH Holdings Corp. was

  noted by the Clerk of the Court on March 8, 2024;

          WHEREAS Plaintiff Jada Winters filed a motion for default judgment against Phountain

  PH Holdings Corp on April 9, 2024 and the Court having found good cause to grant the motion;

  and

          WHEREAS an inquest was held on ___________;

          IT IS HEREBY ORDERED, ADJUDGED AND DECREED: That the Plaintiff have

  judgment against Defendant Phountain PH Holdings Corp. in the amount of _________ in Back

  Pay, Prejudgment Interest in the amount of __________, Emotional Distress Damages in the

  amount of __________, Punitive Damages in the amount of __________, and Attorneys’ Fees

  and Costs in the amount of _________________.


  Dated: _________________
         Central Islip, New York
                                                               ENTERED:


                                                               ________________________________
                                                                     United States District Judge
